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                                             UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA

                      Plaintiff

               v.                                             Criminal Case No. 21-CR-405 (RCL)

XAVIER MONROY

                      Defendant

                                          EXHIBITS FOR THE GOVERNMENT
                                                                        Date
                                                    Date Marked
 Exhibit                                                              Received
                     Exhibit Description                 for                                      Witness
  No.                                                                   Into
                                                    Identification
                                                                      Evidence
    1      1/20/2010 Email                            8/16/2022       8/16/2022    Sung Yol Kim
    2      2/1/2010 Email
    3      2/2/2010 Email
    4      March 2010 PowerPoint
    5      6/16/2010 Email                            8/16/2022       8/16/2022    Sung Yol Kim
    6      10/28/2010 Email
    7      2/28/2011 Email                            8/16/2022       8/16/2022    Sung Yol Kim
    8      3/28/2011 Email                            8/16/2022       8/16/2022    Sung Yol Kim
   8T      Translation of 3/28/2011 Email             8/16/2022       8/16/2022    Sung Yol Kim
           Translation Certificate for 3/28/2011
  8TC
           Email Translation
    9      4/1/2011 Email                             8/16/2022       8/16/2022    Sung Yol Kim



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                                             UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF COLUMBIA
                                                                        Date
                                                    Date Marked
 Exhibit                                                             Received
                     Exhibit Description                 for                                    Witness
  No.                                                                   Into
                                                    Identification
                                                                     Evidence
    10     5/11/2011 Email                            8/16/2022      8/16/2022   Sung Yol Kim
    11     6/23/2011 Email                            8/16/2022      8/16/2022   Sung Yol Kim
   11T     Translation of 6/23/2011 Email             8/16/2022      8/16/2022   Sung Yol Kim
           Translation Certificate for 6/23/2011
  11TC
           Email Translation
    12     Hotel Invoices                             8/16/2022      8/16/2022   Sung Yol Kim
    13     Hotel Invoices                             8/16/2022      8/16/2022   Sung Yol Kim
    14     12/17/2011 Email                           8/16/2022      8/16/2022   Sung Yol Kim
    15     1/4/2012 Email
    16     1/6/2012 Email                             8/16/2022      8/16/2022   Sung Yol Kim
    17     1/20/2012 Email                            8/16/2022      8/16/2022   Sung Yol Kim
    18     1/21/2012 Email                            8/16/2022      8/16/2022   Sung Yol Kim
    19     2/9/2012 Email                             8/16/2022      8/16/2022   Sung Yol Kim
    20     3/8/2012 Email
    21     10/22/2012 Email Chain
           10/22/2012 Vouchers, Order Forms, and
    22
           Invoices
    23     12/18/2012 Email
    24     1/25/2013 Email                            8/16/2022      8/16/2022   Sung Yol Kim
   24T     Translation of 1/25/2013 Email             8/16/2022      8/16/2022   Sung Yol Kim




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                                             UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF COLUMBIA
                                                                       Date
                                                    Date Marked
 Exhibit                                                             Received
                     Exhibit Description                 for                                     Witness
  No.                                                                  Into
                                                    Identification
                                                                     Evidence
           Translation Certificate for 1/25/2013
  24TC
           Email Translation
    25     2/18/2013 Email                            8/16/2022                  Sung Yol Kim
    26     2/20/2013 Email                            8/16/2022      8/16/2022   Sung Yol Kim
    27     3/13/2013 Email
    28     3/19/2013 Email                            8/17/2022      8/17/2022   Sung Yol Kim
   28T     Translation of 3/19/2013 Email             8/17/2022      8/17/2022   Sung Yol Kim
           Translation Certificate for 3/19/2013
  28TC
           Email Translation
    29     3/22/2013 Email                            8/16/2022      8/16/2022   Sung Yol Kim
   29T     Translation of 3/22/2013 Email             8/16/2022      8/16/2022   Sung Yol Kim
           Translation Certificate for 3/22/2013
  29TC
           Email Translation
    30     5/14/2013 Email
    31     5/31/2013 Email
    32     9/23/2013 Email                            8/16/2022      8/16/2022   Sung Yol Kim
   32T     Translation of 9/23/2013 Email             8/16/2022      8/16/2022   Sung Yol Kim
           Translation Certificate for 9/23/2013
  32TC
           Email Translation
    33     Area 4 HSP Contract Dated 10/4/2013        8/16/2022      8/16/2022   Yarinee Tafur
    34     10/15/2013 Email Chain                     8/16/2022      8/16/2022   Yarinee Tafur
    35     11/7/2013 Email                            8/16/2022      8/16/2022   Yarinee Tafur



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                                          UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF COLUMBIA
                                                                     Date
                                                 Date Marked
 Exhibit                                                          Received
                    Exhibit Description               for                                     Witness
  No.                                                                Into
                                                 Identification
                                                                  Evidence
    36     11/7/2013 Email                         8/16/2022      8/16/2022   Yarinee Tafur
    37     11/10/2013 Email                        8/16/2022      8/16/2022   Sung Yol Kim
    38     11/10/2013 Email                        8/16/2022      8/16/2022   Sung Yol Kim
    39     11/10/2013 Email                        8/16/2022      8/16/2022   Sung Yol Kim
    40     11/11/2013 Email                        8/16/2022      8/16/2022   Yarinee Tafur
    41     11/25/2013 Email                        8/16/2022      8/16/2022   Sung Yol Kim
    42     11/25/2013 Email                        8/16/2022      8/16/2022   Sung Yol Kim
    43     11/25/2013 Email                        8/16/2022      8/16/2022   Sung Yol Kim
    44     12/13/2013 Email                        8/16/2022      8/16/2022   Sung Yol Kim
    45     12/13/2013 Email                        8/16/2022      8/16/2022   Sung Yol Kim
    46     12/16/2013 Email                        8/16/2022      8/16/2022   Sung Yol Kim
    47     12/18/2013 Email                        8/16/2022      8/16/2022   Sung Yol Kim
    48     12/18/2013 Email                        8/16/2022      8/16/2022   Sung Yol Kim
    49     12/19/2013 Email                        8/16/2022      8/16/2022   Sung Yol Kim
    50     12/21/2013 Email                        8/16/2022      8/16/2022   Sung Yol Kim
    51     12/23/2013 Email
    52     1/8/2014 Voucher                        8/16/2022      8/16/2022   Yarinee Tafur
    53     1/8/2014 Order Form                     8/16/2022      8/16/2022   Yarinee Tafur
    54     1/8/2014 DK Marine Invoice              8/16/2022      8/16/2022   Sung Yol Kim



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                                             UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF COLUMBIA
                                                                        Date
                                                     Date Marked
 Exhibit                                                              Received
                     Exhibit Description                  for                                     Witness
  No.                                                                   Into
                                                     Identification
                                                                      Evidence
    55     1/24/2012 Email
    56     1/29/2014 Email                             8/16/2022      8/16/2022   Sung Yol Kim
    57     2/28/2019 Email
    58     6/24/2014 Email                             8/16/2022      8/16/2022   Sung Yol Kim
    59     6/27/2014 Email                             8/17/2022      8/17/2022   Sung Yol Kim
    60     8/1/2014 Email                              8/16/2022      8/16/2022   Sung Yol Kim
    61     10/10/2014 Email
    62     10/14/2014 Email                            8/17/2022      8/17/2022   Sung Yol Kim
   62T     Translation of 10/14/2014 Email
           Translation Certificate for 10/14/2014
  62TC
           Email Translation
    63     Republic of Korea Immigration Records
   63T     Translation of Immigration Records
           Translation Certificate for Immigration
  63TC
           Records Translation
           Spreadsheet of Xavier Monroy’s Navy
    64
           Trainings
    65     Monroy SF-86
           Subscriber Information for
    66                                                 8/18/2022      8/18/2022   -------------
           Monroyxx@hotmail.com
    67     Photo of Xavier Monroy                      8/16/2022      8/16/2022   Sung Yol Kim
    68     Photo of Xavier Monroy                      8/16/2022      8/16/2022   Sung Yol Kim



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                                           UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF COLUMBIA
                                                                        Date
                                                    Date Marked
 Exhibit                                                             Received
                    Exhibit Description                  for                                         Witness
  No.                                                                   Into
                                                    Identification
                                                                     Evidence
    69     Photo of Xavier Monroy’s Passport          8/16/2022      8/16/2022   Sung Yol Kim
           Excerpt from Xavier Monroy’s Personnel
    70                                                8/18/2022      8/18/2022   -------------
           File
           Excerpt from Xavier Monroy’s Personnel
    71
           File
    72     11/5/2013 Email
   105     David Kim Plea Agreement                   8/16/2022      8/16/2022   Sung Yol Kim
   117     James Driver Plea Agreement                8/17/2022      8/17/2022   James Driver, III
           Xavier Monroy’s Navy Federal Bank
   201                                                8/16/2022      8/16/2022   Sung Yol Kim
           Statements for 9/24/2013 – 10/23/2013
           Xavier Monroy’s Navy Federal Bank
   202                                                8/16/2022      8/16/2022   Sung Yol Kim
           Statements for 2/24/2013 – 3/23/2013
           Cash Deposits to Xavier Monroy Bank
   203                                                8/16/2022      8/16/2022   Sung Yol Kim
           Accounts
   204     Xavier Monroy Wire Transfer Request        8/16/2022      8/16/2022   Sung Yol Kim
           Xavier Monroy’s Navy Federal Bank
   205                                                8/16/2022      8/16/2022   Sung Yol Kim
           Statement for 4/24/2011 – 5/23/2011
           Xavier Monroy’s Navy Federal Bank
   206                                                8/16/2022      8/16/2022   Sung Yol Kim
           Statement for 7/24/2011 – 8/23/2011
           Xavier Monroy’s Navy Federal Bank
   207                                                8/16/2022      8/16/2022   Sung Yol Kim
           Statement for 6/24/2011 – 7/23/2011
           Subscriber Information for David Kim’s
   208                                                8/18/2022      8/18/2022   -------------
           PayPal Account
           Subscriber Information for Xavier
   209                                                8/18/2022      8/18/2022   -------------
           Monroy’s PayPal Account
   301     USNS Sacagawea Audit Report


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                                          UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF COLUMBIA
                                                                        Date
                                                    Date Marked
 Exhibit                                                             Received
                    Exhibit Description                  for                                     Witness
  No.                                                                   Into
                                                    Identification
                                                                     Evidence
   302     USNS Charles Drew Audit Report             8/16/2022      8/16/2022   Yarinee Tafur
           Order forms and Voucher for 10/14/2013
  303-A                                               8/16/2022      8/16/2022   Sung Yol Kim
           – 10/28/2013
           DK Marine Invoices for 10/14/2013 –
  303-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           10/28/2013
           Order Forms and Voucher for 11/4/2013
  304-A                                               8/16/2022      8/16/2022   Sung Yol Kim
           – 11/18/2014
           DK Marine Invoices for 11-4-2013 –
  304-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           11/18/2014
           Order Forms and Voucher for
  305-A                                               8/16/2022      8/16/2022   Sung Yol Kim
           11/19/2013 – 12/9/2013
           DK Marine Invoices for 11/19/2013 –
  305-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           12/9/2013
           Order Forms and Voucher for
  306-A                                               8/16/2022      8/16/2022   Sung Yol Kim
           12/10/2013 – 12/20/2013
           DK Marine Invoices for 12/10/2013 –
  306-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           12/20/2013
           Order Forms and Voucher for
  307-A                                               8/16/2022      8/16/2022   Sung Yol Kim
           12/21/2013 – 1/12/2014
           DK Marine Invoices for 12/21/2013 –
  307-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           1/12/2014
           Order Forms and Voucher for 1/12/2014
  308-A                                               8/16/2022      8/16/2022   Sung Yol Kim
           – 1/20/2014
           DK Marine Invoices for 1/12/2014 –
  308-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           1/20/2014
  309-A    Order Form 1/20/2014 – 2/5/2014            8/16/2022      8/16/2022   Sung Yol Kim
           DK Marine Invoices for 1/20/2014 –
  309-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           2/5/2014


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                                          UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF COLUMBIA
                                                                       Date
                                                    Date Marked
 Exhibit                                                             Received
                    Exhibit Description                  for                                    Witness
  No.                                                                  Into
                                                    Identification
                                                                     Evidence
           Order Forms and Vouchers for 2/18/2014
  310-A                                               8/16/2022      8/16/2022   Sung Yol Kim
           – 2/20/2014
           DK Marine Invoices for 2/18/2014 –
  310-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           2/20/2014
  311-A    Order Form for 2/24/2014 – 3/25/2014       8/16/2022      8/16/2022   Sung Yol Kim
           DK Marine Invoices for 2/24/2014 –
  311-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           3/25/2014
           Order Form and Voucher for 3/26/2014 –
  312-A                                               8/16/2022      8/16/2022   Sung Yol Kim
           4/8/2014
           DK Marine Invoices for 3/26/2014 –
  312-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           4/8/2014
  313-A    Order Form for 4/8/2014 – 4/11/2014        8/16/2022      8/16/2022   Sung Yol Kim
           DK Marine Invoices for 4/8/2014 –
  313-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           4/11/2014
  314-A    Order Form for 4/18/2014 – 4/21/2014       8/16/2022      8/16/2022   Sung Yol Kim
           DK Marine Invoices for 4/18/2014 –
  314-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           4/21/2014
  315-A    Order Forms for 4/30/2014 – 5/13/2014      8/16/2022      8/16/2022   Sung Yol Kim
           DK Marine Invoices for 4/30/2014 –
  315-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           5/13/2014
  316-A    Vouchers for 5/14/2014 – 5/31/2014         8/16/2022      8/16/2022   Sung Yol Kim
           DK Marine Invoices for 5/14/2014 –
  316-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           5/31/2014
  317-A    Vouchers for 6/1/2014 – 6/15/2014          8/16/2022      8/16/2022   Sung Yol Kim
           DK Marine Invoices for 6/1/2014 –
  317-B                                               8/16/2022      8/16/2022   Sung Yol Kim
           6/15/2014


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                                           UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF COLUMBIA
                                                                         Date
                                                     Date Marked
 Exhibit                                                              Received
                    Exhibit Description                   for                                      Witness
  No.                                                                    Into
                                                     Identification
                                                                      Evidence
  318-A    Order Form for 6/15/2014 – 6/30/2014        8/16/2022      8/16/2022   Sung Yol Kim
           DK Marine Invoices for 6/15/2014 –
  318-B                                                8/16/2022      8/16/2022   Sung Yol Kim
           6/30/2014
  319-A    Order Forms for 7/15/2014 – 7/21/2014       8/16/2022      8/16/2022   Sung Yol Kim
           DK Marine Invoices for 7/15/2014 –
  319-B                                                8/16/2022      8/16/2022   Sung Yol Kim
           7/21/2014
  320-A    Order Form for 8/6/2014 – 8/27/2014         8/16/2022      8/16/2022   Sung Yol Kim
           DK Marine Invoices for 8/6/2014 –
  320-B                                                8/16/2022      8/16/2022   Sung Yol Kim
           8/27/2014
           Recording of Xavier Monroy’s 7/29/2019
   401                                                 8/18/2022      8/18/2022   Shantonee Mitchell
           Interview with NCIS & DCIS
           Transcript of Xavier Monroy’s 7/29/2019
   402                                                 8/18/2022      8/18/2022   Shantonee Mitchell
           Interview Recording with NCIS & DCIS
           Video Clip from Xavier Monroy
   403                                                 8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 403TE     Transcript Excerpt of GX403                 8/18/2022      8/18/2022   Shantonee Mitchell
           Video Clip from Xavier Monroy
   404                                                 8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 404TE     Transcript Excerpt of GX403                 8/18/2022      8/18/2022   Shantonee Mitchell
           Video Clip from Xavier Monroy
   405                                                 8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 405TE     Transcript Excerpt of GX403                 8/18/2022      8/18/2022   Shantonee Mitchell
           Video Clip from Xavier Monroy
   406                                                 8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 406TE     Transcript Excerpt of GX403                 8/18/2022      8/18/2022   Shantonee Mitchell



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                                           UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF COLUMBIA
                                                                     Date
                                                  Date Marked
 Exhibit                                                           Received
                    Exhibit Description                for                                      Witness
  No.                                                                Into
                                                  Identification
                                                                   Evidence
           Video Clip from Xavier Monroy
   407                                              8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 407TE     Transcript Excerpt of GX403              8/18/2022      8/18/2022   Shantonee Mitchell
           Video Clip from Xavier Monroy
   408                                              8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 408TE     Transcript Excerpt of GX403              8/18/2022      8/18/2022   Shantonee Mitchell
           Video Clip from Xavier Monroy
   409                                              8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 409TE     Transcript Excerpt of GX403              8/18/2022      8/18/2022   Shantonee Mitchell
           Video Clip from Xavier Monroy
   410                                              8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 410TE     Transcript Excerpt of GX403              8/18/2022      8/18/2022   Shantonee Mitchell
           Video Clip from Xavier Monroy
   411                                              8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 411TE     Transcript Excerpt of GX403              8/18/2022      8/18/2022   Shantonee Mitchell
           Video Clip from Xavier Monroy
   412                                              8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 412TE     Transcript Excerpt of GX403              8/18/2022      8/18/2022   Shantonee Mitchell
           Video Clip from Xavier Monroy
   413                                              8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 413TE     Transcript Excerpt of GX403              8/18/2022      8/18/2022   Shantonee Mitchell
           Video Clip from Xavier Monroy
   414                                              8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 414TE     Transcript Excerpt of GX403              8/18/2022      8/18/2022   Shantonee Mitchell




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                                              UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF COLUMBIA
                                                                         Date
                                                      Date Marked
 Exhibit                                                               Received
                     Exhibit Description                   for                                        Witness
  No.                                                                    Into
                                                      Identification
                                                                       Evidence
           Video Clip from Xavier Monroy
   415                                                  8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 415TE     Transcript Excerpt of GX403                  8/18/2022      8/18/2022   Shantonee Mitchell
           Video Clip from Xavier Monroy
   416                                                  8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 416TE     Transcript Excerpt of GX403                  8/18/2022      8/18/2022   Shantonee Mitchell
           Video Clip from Xavier Monroy
   417                                                  8/18/2022      8/18/2022   Shantonee Mitchell
           Interview
 417TE     Transcript Excerpt of GX403                  8/18/2022      8/18/2022   Shantonee Mitchell
   501     Community Bank Certification                 8/18/2022      8/18/2022   -----------
   502     Google Certification
   503     Microsoft Certification
           Xavier Monroy’s Navy Files
   504
           Certification
   505     Navy Federal Union Certification
   506     Navy Federal Union Certification             8/18/2022      8/18/2022   -----------
           PayPal Certification for account records
   507                                                  8/18/2022      8/18/2022   -----------
           associated with David Kim
           PayPal Certification for account records
   508                                                  8/18/2022      8/18/2022   -----------
           associated with Xavier Monroy
   509     Yahoo Certification                          8/18/2022      8/18/2022   -----------
   510     Signed Stipulations                          8/16/2022      8/16/2022   ----------------
  1001     Summary Exhibit                              8/18/2022      8/18/2022



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                                          UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF COLUMBIA
                                                                       Date
                                                   Date Marked
 Exhibit                                                            Received
                    Exhibit Description                 for                                      Witness
  No.                                                                  Into
                                                   Identification
                                                                    Evidence
  1002     Naval Audit Summary Chart                 8/18/2022      8/18/2022   Felicia Allen
           Xavier Monroy Cash Deposits Summary
  1003                                               8/17/2022      8/17/2022   Denise Harding
           Chart
           Xavier Monroy April 2011 Withdrawal
  1004                                               8/17/2022      8/17/2022   Denise Harding
           Transactions Summary Chart
           Xavier Monroy May 2011 Withdrawal
  1005                                               8/17/2022      8/17/2022   Denise Harding
           Transactions Summary Chart
           Xavier Monroy July 2011 Withdrawal
  1006                                               8/17/2022      8/17/2022   Denise Harding
           Transactions Summary Chart
           Xavier Monroy February 2013
  1007                                               8/17/2022      8/17/2022   Denise Harding
           Withdrawal Transactions Summary Chart
           Xavier Monroy October 2013
  1008                                               8/17/2022      8/17/2022   Denise Harding
           Withdrawal Transactions Summary Chart




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